. Case 5:21-cr-50014-TLB Document115 Filed v2109124( Ppp KL aRBRA®

IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS
FAYETTEVILLE DIVISION

 

 

UNITED STATES OF AMERICA PLAINTIFF
V. CASE NO. 5:21CR50014-001
JOSHUA JAMES DUGGAR DEFENDANT
EXHIBIT LIST FOR UNITED STATES OF AMERICA
PRESIDING JUDGE PLAINTIFF'S ATTORNEYS DEFENDANT'S ATTORNEY

Hon. Timothy L. Brooks

 

 

Carly Marshall, AUSA
Dustin Roberts, AUSA
William Clayman, DOJ

Justin Gelfand
Jan Murphy
Travis Story

 

TRIAL DATE

Nov. 30 — Dec 8, 2021

COURT REPORTER

 

Paula Barden

COURTROOM DEPUTY

 

Sheri Craig

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Pltf. Date Object | Stip | Ree’d Description of Exhibits
No. Offered
Aa/Li2t x V Torrential Downpour Log for video “mov_0216.mp4” summary
2 12/1/21 x V Torrential Downpour Log for video “Marissa.zip” summary
12/1/21} X | Thumb drive containing Video “mov_0216.mp4” and 65 images
from “marissa.zip” file (CSAM)
4 12/1/21 xX V 519CM115 Search Warrant Document
5 12/1/21| X V | Map of Wildcat Creek Rd, view 1
6 12/1/21 X Vv | Map of Wildcat Creek Rd, view 2
7 12/1/21} xX Vy | SW Photo IMG_1001
8 12/1/21} X V¥ | SW Photo IMG_1917
9 12/1/21} X | SW Photo IMG_1922
10. | 12/1/21} xX ¥ | SW Photo IMG_ 1927
11 12/1/21} xX V | SW Photo IMG_1955
12 | 12/1/21} X V | SW Photo IMG_1959
13 |12/1/21| xX | SW Photo IMG_1976
14 |12/1/21| X V | SW Photo IMG_2009
Is | BAA) x V | sw photo IMG_1921
16 | 12/1/21) X | SW Photo IMG_1951
17. | 12/1/21) X V | SW Photo IMG 1929
18 | 12/1/21) xX V | SW Photo IMG_1981

 

 
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44 12/2/21

  
  

19 x | SW Photo IMG_2023
20 «| 12/1/21! X | Apple iPhone
21 12/1/21 xX V Statement of Rights Form — Joshua Duggar
22 12/1/21 Xx | November 8, 2019 Interview with Joshua Duggar
23 12/1/21 Xx 1 | Wholesale motorcars pay records
23-1 | 12/1/21 Xx V¥ | Stipulation regarding Exhibit 23
26 |12/2/21| X V | HP Laptop
27 ~+| 12/2/21| xX | Macbook Computer
28 12/2/21 xX | Virtual Machine Print Screens of HP Desktop — Windows
Partition
30 12/2/21 Xx | Virtual Machine Print Screens of HP Desktop — Linux Partition
a 12/2/21 xX | EXIF Information of Thumbnail Images from “normal” Folder
34 12/2/21 XxX | EXIF Information of Thumbnail Images from “large” Folder
37 12/2/21 xX Tor Browser Bookmarks
38 12/2/21 X | Recently Used File Data — Tor Browser
39 12/2/21} X | Torrent Files on HP Desktop — Linux Partition
40 | 12/2/21] X V | Torrent File Hash Values
41 12/2/21 X | Torrent File Contents
42 12/2/21 xX {| Internet Explorer Cache Records
43 | 12/2/21) X V_ | VLC-QT-Interface.conf
X V | VLC Recent Fil

 
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Pitf. | Date | Object | Stip | Rec’d Description of Exhibits

No. | Offered
56 2/20 |X \ | Storyboard of “Pussy Pounded.mpg” (OBSCENE)
57 2d | oo V_ | test.avi (OBSCENE)
Be GAD med. 1 | Storyboard of “test.avi’” (OBSCENE)
59 | 12/2/21) X | Recently Used File Data — Local Share Folder
61 12/3/21 x V Virtual Machine Print Screens of Defendant’s MacBook
63 | 12/3/21| X V | Apple Notes from MacBook
64 | 12/3/21) X V | Emails Related to Intel1988
66 | 12/3/21) X V | Torrent Files on MacBook
69 | 12/3/21) xX | Covenant Eyes Email — April 22, 2017
70 12/3/21 X 1 | Covenant Eyes Email — May 13, 2017
71 12/3/21 |) YES | Images from Defendant’s iPhone 8 — May 11, 2019
72 12/3/21 xX V iMessages from Defendant’s iPhone 8 — May 11, 2019
73 12/3/21 | YES V Images from Defendant’s iPhone 8 - May 13, 2019
74 12/3/21 | YES | Images from Defendant’s iPhone 8 — May 14, 2019
75 12/3/21 | YES || iMessages from Defendant’s iPhone 8 — May 14, 2019
76 12/3/21 | YES | Images from Defendant’s iPhone 8 — May 15, 2019
77 12/3/21 | YES | iMessages from Defendant’s iPhone 8 — May 15, 2019
78 12/3/21 | YES | Images from Defendant’s iPhone 8 — May 16, 2019
79 | 12/3/21) YES | iMessages from Defendant’s iPhone 8 — May 16, 2019
80 12/3/21 | YES V Images from Defendant’s iPhone 8 — June 22, 2019
81 12/3/21 | YES | iMessages from Defendant’s iPhone 8 — June 22, 2019
83 12/3/21 Xx \V | Torsec Media History
85 12/3/21 Xx | Timeline (created by James Fottrell)

 

 
